    Case 3:19-md-02885-MCR-GRJ Document 252 Filed 05/06/19 Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                        Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                              Judge M. Casey Rodgers
 This Document Relates to All Cases           Magistrate Judge Gary R. Jones


                           PRETRIAL ORDER NO. 5
                Stipulated Order on Procedures for Direct Filing

      1.     Direct Filing Permitted. To promote judicial efficiency and eliminate

delays associated with the transfer to this Court of cases filed in or removed to other

federal district courts, any Plaintiff whose case would be subject to transfer to MDL

No. 2885 may file his or her case directly in the Northern District of Florida,

Pensacola Division. The direct filing of actions in MDL No. 2885 is solely for the

purposes of consolidated discovery and related pretrial proceedings as provided by

28 U.S.C. § 1407. Each case filed directly into MDL No. 2885 must identify a

“Designated Forum,” i.e., the federal district in which the Plaintiff would have filed

his or her case in the absence of direct filing. Counsel admitted pro hac vice in any

other case before this MDL may initiate a separate action in this MDL without local

counsel. An attorney not admitted pro hac vice in any case will be permitted to

commence an action directly in this MDL pursuant to this order, provided that
     Case 3:19-md-02885-MCR-GRJ Document 252 Filed 05/06/19 Page 2 of 3
                                                                              Page 2 of 3


counsel must file his or her pro hac vice application within 30 days of the direct

filing.

          2.   No Lexecon Waiver. For cases filed directly into MDL No. 2885, the

parties preserve and do not waive any and all rights under Lexecon Inc. v. Milberg

Weiss, 523 U.S. 26 (1998), to have each case remanded to the Designated Forum for

trial. Nothing in this order shall preclude the parties from agreeing to Lexecon

waivers in the future.

          3.   No Determination Regarding Jurisdiction or Venue. The inclusion of

any case in MDL No. 2885, whether such case was or will be filed originally or

directly in the Northern District of Florida, or transferred or removed to the Northern

District of Florida, does not constitute a determination by this Court that jurisdiction

or venue is proper in this District or any other Designated Forum. However, for

purposes of cases filed pursuant to this Order, Defendants waive any argument that

this Court lacks personal jurisdiction over the Defendants.

          4.   Future Remands. Nothing herein shall preclude any party from moving

for remand or a suggestion of remand, or otherwise seeking transfer under 28 USC

§ 1404, at any time as ordered by the Court or as otherwise permitted by law, nor

from opposing any remand or suggestion of remand.

          5.   Direct Filing Shall Not Impact Choice of Law. The fact that a case was

filed directly in MDL No. 2885 pursuant to this Order will have no impact on choice



Case No. 3:19md2885/MCR/GRJ
    Case 3:19-md-02885-MCR-GRJ Document 252 Filed 05/06/19 Page 3 of 3
                                                                              Page 3 of 3


of law, including the statute of limitations, that otherwise would apply to an

individual case had it been filed in the Designated Forum and removed and/or

transferred to this Court.

      6.     Objection to Inclusion of Cases In MDL. Plaintiffs, through Lead

Counsel, and Defendants will have seven (7) days from the date of a Court order

consolidating a direct-filed case with the MDL to meet and confer and object by

letter motion to the inclusion of the case in the MDL. The party in favor of

consolidation in the MDL will then have three (3) days to file a response to any such

filed objection. Such objections and responses must be filed only in MDL No. 2885.

No replies will be allowed without leave of Court. Failure to object as set forth

herein shall constitute a waiver of any objection to inclusion of the case in the MDL.

In the event the Court determines that a direct-filed case should not have been filed

in this MDL, the plaintiff shall have 10 days from the date of that determination to

refile in another Court, and the Defendants agree that the date of filing for purposes

of any statute of limitations and/or statute of repose shall relate back to the original

filing in the MDL.

      DONE and ORDERED on this 6th day of May, 2019.


                                        M. Casey Rodgers
                                        M. CASEY RODGERS
                                        UNITED STATES DISTRICT JUDGE



Case No. 3:19md2885/MCR/GRJ
